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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 CENTURY SURETY COMPANY,                  §
                                          §
          Plaintiff,                      §
                                          §
 V.                                       §              No. 3:23-cv-1066-E
                                          §
 PBC AUTO COMMERCE, LLC DBA               §
 COMMERCE CHEVROLET BUICK,                §
 BRITTNEY MORAN, DAVID                    §
 MORAN, LINDA SIMPSON,                    §
 RICHARD SIMPSON, JEREMY                  §
 CHASE SPENCER, and KERSTIN               §
 BROOKE JOHNSON,                          §
                                          §
          Defendants.                     §

                       MEMORANDUM OPINION AND ORDER

      Plaintiff Century Surety Company (“Century”) filed this Motion for Leave to

File a First Amended Complaint. See Dkt. No. 60. Defendant PBC Auto Commerce,

LLC (“PBC”) filed an opposition, see Dkt. No. 63, and Century filed a reply, see Dkt.

No. 65.

      For the reasons explained below, the Court grants Century’s Motion for Leave

to File a First Amended Complaint [Dkt. No. 60].

                                   Background

      This case concerns an insurance coverage declaratory judgment action arising

out of an automobile accident.




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      In the underlying state court lawsuit styled Brittney Moran and David Moran,

Individually, and as Anticipated Estate Representatives of B.M., Deceased, and Linda

Simpson and Richard Simpson, as Next of Friends of I.S., a Minor, v. Jeremy Chase

Spencer, Kerstin Brooke Johnson, and PBC Auto Commerce DBA Commerce Chevrolet

Buick, Cause No. CC-22-06206-D, in the County Court at Law No. 4, Dallas County,

Texas, the plaintiffs brought causes of action against Defendant Jeremy Chase

Spencer for negligence and against Defendants PBC and Kerstin Brooke Johnson for

negligent entrustment. See Dkt. No. 1 at 4-6.

      Century issued an auto dealers policy to PBC, which contains an exclusion for

bodily injury or property damages arising from a criminal act committed by the

insured (the “Criminal Acts exclusion”). See Dkt. No. 1 at 6-11. And in the underlying

lawsuit, the plaintiffs claim that Spencer was operating the vehicle involved in the

accident and that he was arrested for alleged criminal acts. See id. at 5.

      And, so, Century requests a declaratory judgment in its favor providing that

the Criminal Acts exclusion precludes any duty to defend PBC and/or indemnify any

party. See id. at 13-14. And to support its position, Century seeks to use evidence that

Spencer was indicted for three felonies as a result of the accident. See Dkt. No. 60 at

6.

      During the discovery process, the Parties sought the Court’s intervention to

resolve a dispute regarding Century’s discovery requests that involved extrinsic

evidence. See Dkt Nos. 34 & 44.



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      That discovery dispute implicated the so-called “Monroe exception,” which is

derived from the Texas Supreme Court’s holding in Monroe Guar. Ins. Co. v. BITCO

Gen. Ins. Corp., 640 S.W.3d 195, 199 (Tex. 2022)).

      Under Texas’s “eight-corners rule,” courts are “directed to determine an

insurer’s duty to defend based on: (1) the pleading against the insured in the

underlying litigation and (2) the terms of the insurance policy.” Discover Prop. & Cas.

Ins. Co. v. Blue Bell Creameries USA, Inc., 73 F.4th 322, 328 (5th Cir. 2023) (quoting

Monroe, 640 S.W.3d at 199).

      But the Monroe court held that:

      if the underlying petition states a claim that could trigger the duty to
      defend, and the application of the eight-corners rule, due to a gap in the
      plaintiff’s pleading, is not determinative of whether coverage exists,
      Texas law permits consideration of extrinsic evidence provided the
      evidence (1) goes solely to an issue of coverage and does not overlap with
      the merits of liability, (2) does not contradict facts alleged in the
      pleading, and (3) conclusively establishes the coverage fact to be proved.

Bitco Gen. Ins. Corp. v. Monroe Guar. Ins. Co., 31 F.4th 325, 33031 (5th Cir. 2022)

(quoting Monroe, 640 S.W.3d at 203).

      In resolving the discovery dispute, the Court found:

      Century’s counsel at oral argument asserted that Century should not be
      required to plead the Monroe decision or other governing law in its
      complaint to be entitled to relevant discovery. But what it pleaded is a
      duty-to-defend declaratory judgment action as to which only the policy
      and the third-party plaintiff’s pleadings are relevant and as to which –
      without invoking and establishing Monroe’s exception – the Court
      cannot consider extrinsic evidence.

      Century did not plead any basis to support that exception and, even at
      oral argument, has not adequately explained how the threshold


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      requirement of “a gap in the plaintiff’s pleading” would be met as to the
      Leased, Rented, or Owned Autos Exclusion. And, as to the Criminal Acts
      exclusion, Century’s discovery requests two Rule 36(a) admissions by
      PBC of information that Century acknowledges that it has already
      obtained from public records and that PBC is in no better or special
      position to know of its own accord.

Dkt. No. 58.

      Century now seeks leave to amend its complaint to specifically plead the

Monroe exception in light of the Court’s findings.

                                  Legal Standards

      When, like here, a party is not subject to an expired deadline for seeking leave

to amend, Federal Rule of Civil Procedure 15(a) requires that leave to amend be

granted freely “when justice so requires.” FED. R. CIV. P. 15(a)(2). That is, Rule 15(a)

provides a “strong presumption in favor of granting leave to amend,” Fin. Acquisition

Partners, LP v. Blackwell, 440 F.3d 278, 291 (5th Cir. 2006), and the Court must do

so “unless there is a substantial reason to deny leave to amend,” Dussouy v. Gulf

Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981). Thus, while leave to amend is not

automatic, see Jones v. Robinson Prop. Grp., L.P., 427 F.3d 987, 994 (5th Cir. 2005),

the federal rules’ policy “is to permit liberal amendment to facilitate determination

of claims on the merits and to prevent litigation from becoming a technical exercise

in the fine points of pleading,” Dussouy, 660 F.2d at 598.

      The Court “may consider a variety of factors” when deciding whether to grant

leave to amend, “including undue delay, bad faith or dilatory motive on the part of

the movant, repeated failures to cure deficiencies by amendments previously allowed,


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undue prejudice to the opposing party by virtue of allowance of the amendment, and

futility of the amendment.” Jones, 427 F.3d at 994; accord Jebaco Inc. v. Harrah’s

Operating Co. Inc., 587 F.3d 314, 322 (5th Cir. 2009) (“leave to amend is to be granted

liberally unless the movant has acted in bad faith or with a dilatory motive, granting

the motion would cause prejudice, or amendment would be futile”). “The existence of

one of these factors is sufficient to deny leave.” New Orleans Ass’n of Cemetery Tour

Guides & Companies v. New Orleans Archdiocesan Cemeteries, 56 F.4th 1026, 1034

(5th Cir. 2023).

      A court may therefore “refuse leave to amend if ... the complaint as amended

would be subject to dismissal,” Varela v. Gonzales, 773 F.3d 704, 707 (5th Cir. 2014)

(quoting Ackerson v. Bean Dredging, LLC, 589 F.3d 196, 208 (5th Cir. 2009); internal

quotation marks omitted); see also Legate v. Livingston, 822 F.3d 207, 211 (5th Cir.

2016) (While “the language of [Rule 15(a)] ‘evinces a bias in favor of granting leave to

amend,’ ... a district court need not grant a futile motion to amend.” (quoting Lyn-Lea

Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282, 286 (5th Cir. 2002) (in turn quoting

Chitimacha Tribe of La. v. Harry L. Laws Co., 690 F.2d 1157, 1162 (5th Cir. 1982));

citation omitted)); cf. Stem v. Gomez, 813 F.3d 205, 215-16 (5th Cir. 2016) (“When an

amended complaint would still ‘fail to survive a Rule 12(b)(6) motion,’ it is not an

abuse of discretion to deny the motion’” for leave to amend. (quoting Marucci Sports,

L.L.C. v. Nat’l Collegiate Athletic Ass’n, 751 F.3d 368, 378 (5th Cir. 2014))).

      Because the Court’s futility analysis parallels an analysis of a motion to



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dismiss under Federal Rule of Civil Procedure 12(b)(6), “[u]nder that standard, ‘a

complaint must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.’ [And a] claim is facially plausible if the complaint

‘allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.’” Thomas v. Chevron U.S.A., Inc., 832 F.3d 586, 590 (5th Cir.

2016) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868

(2009) (in turn quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955,

167 L.Ed.2d 929 (2007); internal quotation marks omitted)); see also Johnson v. City

of Shelby, Miss., 574 U.S. ––––, 135 S.Ct. 346, 347, 190 L.Ed.2d 309 (2014) (per

curiam) (“[T]o survive a motion to dismiss” under Twombly and Iqbal, a plaintiff need

only “plead facts sufficient to show” that the claims asserted have “substantive

plausibility” by stating “simply, concisely, and directly events” that a plaintiff

contends entitle him to relief. (citing FED. R. CIV. P. 8(a)(2)-(3), (d)(1), (e))); accord N.

Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182, 191 (5th Cir.

2015) (“To survive a Rule 12(b)(6) motion to dismiss, the complaint does not need

detailed factual allegations, but it must provide the plaintiff’s grounds for entitlement

to relief – including factual allegations that, when assumed to be true, raise a right

to relief above the speculative level.” (footnote and internal quotation marks

omitted)).

       The United States Supreme Court “has made clear that a Rule 12(b)(6) motion

turns on the sufficiency of the ‘factual allegations’ in the complaint.” Smith v. Bank

of Am., N.A., 615 F. App’x 830, 833 (5th Cir. 2015) (quoting Johnson, 135 S.Ct. at

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347), and the Federal Rules of Civil Procedure “do not countenance dismissal of a

complaint for imperfect statement of the legal theory supporting the claim asserted,”

Johnson, 135 S.Ct. at 346.

      But the Court often looks warily at efforts to preempt an analysis of a new

cause of action in the context of a dispositive motion by denying leave in the Rule

15(a) context on the basis of futility. See Reneker v. Offill, No. 3:08-cv-1394-D, 2011

WL 1427661, at *1 (N.D. Tex. Apr.13, 2011) (“[T]he court’s almost unvarying practice

when futility is raised is to address the merits of the claim or defense in the context

of a Rule 12(b)(6) or Rule 56 motion. The court only infrequently considers the merits

of new causes of action in the context of Rule 15(a). The court prefers instead to do so

in the context of a Rule 12(b)(6) or Rule 56 motion, where the procedural safeguards

are surer.” (internal quotation marks omitted)).

      The Court generally only denies a proposed amendment as futile where the

cause of action is not, in fact, newly pleaded or where a new cause of action fails as a

matter of law – that is, cannot be stated, rather than simply possibly has not been

sufficiently stated in the proposed amended complaint. See Jamieson By and Through

Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985) (“When futility is advanced

as the reason for denying an amendment to a complaint, the court is usually denying

leave because the theory presented in the amendment lacks legal foundation or

because the theory has been adequately presented in a prior version of the

complaint.”).



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                                       Analysis

      Century asks the Court for leave to amend its complaint so that it can

specifically plead the Monroe exception.

      Century contends that “[t]he law surrounding the Monroe [e]xception is

evolving” and that it “did not know it was required to plead its express intention” to

invoke the exception until the Court’s ruling regarding the Parties’ discovery dispute.

Dkt. No. 60 at 7. And, so, Century’s position is that its amendment is timely, made in

good faith, and will not prejudice any party. See id. at 7-9.

      PBC opposes Century’s proposed amendment on the grounds that it is unduly

delayed, is prejudicial to the extent that Century seeks discovery that has already

been disallowed, and is futile to the extent that the Monroe exception does not apply.

See Dkt. No. 63 at 12-16.

      At the outset, Century’s motion is timely because the Court has not entered a

scheduling order under Federal Rule of Civil Procedure 16(b) setting a deadline for

amending the pleadings in this case.

      PBC contends that Century’s amendment is unduly delayed because “Century

knew or should have known at the outset of this lawsuit in May 2023 that it would

need to invoke the Monroe exception” if it wanted to use extrinsic evidence. Id. at 13.

      But the record reflects that Century’s counsel subjectively believed that

Century was not required to specifically plead the Monroe exception. See Dkt. No. 58;

Dkt. No. 59 at 17-18 (“I didn’t think we needed to specifically reference Monroe and



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quote Monroe and do the three elements of Monroe in order to say that the – that

we’re looking for very specific evidence to – to prove our exclusions.”).

      Given that the Texas Supreme Court’s Monroe decision is relatively recent, and

Century moved to amend approximately two weeks after the Court entered its

findings on the related discovery dispute, Century’s request to amend its complaint

is justified under the circumstances and not the result of undue delay.

      PBC primarily takes issue with Century’s proposed amendment to the extent

that Century plans to use it as an “end-run” around the Court’s prior discovery ruling

[Dkt. No. 58]. PBC states that it “has reason to believe the [amendment] is an attempt

to continue to pursue discovery already denied, which would be costly, time

consuming, and therefore prejudicial.” Dkt. No. 63 at 14.

      While undue prejudice to the opposing party is “[p]erhaps the most important

factor … and the most frequent reason for denying leave to amend,” no such prejudice

exists here. Home Depot U.S.A., Inc. v. Nat’l Fire Ins. Co. of Hartford, No. CIV A 3:06-

cv-0073-D, 2007 WL 2592353 (N.D. Tex. Sept. 10, 2007) (“For example, a change may

be deemed prejudicial “if the amendment substantially changes the theory on which

the case has been proceeding and is proposed late enough so that the opponent would

be required to engage in significant new preparation.”).

      Century has not “hid the ball” regarding its attempt to utilize the Monroe

exception in this case, as reflected in the parties’ initial joint status report. See Dkt.




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 No. 27 (citing Monroe and stating that Century intended to rely upon limited extrinsic

 evidence consistent with recent opinions from the Texas Supreme Court).

       PBC stated that it “would be unopposed to [this] Motion if Century attested

 in an amended certificate of conference that it did not intend to seek discovery before

 the resolution of the [u]nderlying [l]awsuit.” Dkt. No. 63 at 14 (emphasis in original).

       Century did not amend its certificate of conference.

       But, in its reply and communications with PBC’s counsel, Century asserted,

 multiple times, that it is not seeking leave to amend as means to pursue additional

 discovery. See Dkt No. 65 at 4 (“Century has expressed in person, in writing, and in

 phone calls with PBC that Century did not intend to file an amended complaint for

 purposes of seeking discovery.”); Dkt. No. 66-1 at 6 (“As we discussed, we do not

 intend to send out any discovery requests if our motion for leave is granted. The

 purpose of the First Amended Complaint is to plead the Monroe exception on the

 criminal acts exclusion.”).

       And, so, the Court disagrees that PBC could be prejudiced by discovery that

 has already been disallowed because Century has provided assurances that its motive

 behind the amendment is not to seek additional discovery.

       As to PBC’s futility argument, the issue of whether Century has established

 the Monroe exception so that the Court can consider extrinsic evidence is best

 reserved for the summary judgment stage of these proceedings.

       And, so, given the case law in this district and the nature of Rule 15’s broad

 directive in favor of leave to amend, the Court finds that PBC’s allegations of undue

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 delay, prejudice, and futility present no substantial reasons that warrant denying

 Century’s motion for leave. See FED. R. CIV. P. 15(a)(2); Dussouy, 660 F.2d at 598.

                                     Conclusion

       For the reasons explained above, the Court grants Century’s Motion for Leave

 to File a First Amended Complaint. [Dkt. No. 60].

       SO ORDERED.

       DATED: March 25, 2025




                                        _________________________________________
                                        DAVID L. HORAN
                                        UNITED STATES MAGISTRATE JUDGE




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